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 1   HEATHER E. WILLIAMS, Bar # 122664
     Federal Defender
 2   Marc Days, Bar # 184098
     Assistant Federal Defender
 3   2300 Tulare Street, Suite 330
     Fresno, CA 93721
 4   Telephone: 559.487.5561
 5   Attorney for Defendant
     JIMMY GONG YAN LEE
 6
 7
 8                              IN THE UNITED STATES DISTRICT COURT
 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                 )        Case №: 1:14-cr-0144 LJO
                                                )
12                     Plaintiff,               )        ORDER ON MOTION TO WITHDRAW
                                                )        THE FEDERAL DEFENDER AS
13           vs.                                )        COUNSEL, APPOINT AD HOC CJA
                                                )        COUNSEL,
14    JIMMY GONG YAN LEE,                       )        AND DEFENDANT'S CONSENT
                                                )
15                     Defendant.               )
                                                )
16
17           Upon Defendant’s motion and consent, good cause appearing, and for consistency of

18   representation,

19          IT IS HEREBY ORDERED, effective January 12, 2015, withdrawing the Federal

20   Defender as counsel and appointing Marc Days as ad hoc CJA counsel pursuant to 18 U.S.C.

21   § 3006A(b) and Eastern District of California’s CJA Plan, Gen. Ord. 323, App. I, §B(3).

22
     IT IS SO ORDERED.
23
24      Dated:     January 6, 2015                               /s/ Sheila K. Oberto
                                                         UNITED STATES MAGISTRATE JUDGE
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     Order Withdrawing Federal Defender
     Appointing Ad Hoc CJA Counsel                   1
